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      Brandy Melville
    8
    9                          UNITED STATES DISTRICT COURT
  10                         CENTRAL DISTRICT OF CALIFORNIA
  11 Y.Y.G.M. SA d.b.a. BRANDY                        Case No. 2:19-cv-04618-RGK (JPRx)
     MELVILLE, a Swiss corporation,                   Judge: Hon. R. Gary Klausner
  12
                  Plaintiff,
  13                                                  PLAINTIFF Y.Y.G.M. SA D.B.A.
           vs.                                        BRANDY MELVILLE’S MOTION
  14                                                  IN LIMINE NO. 2 TO EXCLUDE
     REDBUBBLE, INC., a Delaware                      EVIDENCE OF UNRELATED
  15 corporation,                                     LEGAL CLAIMS AND
                                                      LITIGATION AGAINST
  16                Defendant.                        PLAINTIFF
  17                                                  [Filed Concurrently with Declaration of
                                                      Keith J. Wesley; and [Proposed] Order]
  18
                                                      Date: June 30, 2020
  19                                                  Time: 9:00 a.m.
                                                      Crtrm.: 850
  20
  21                                                  Pre-Trial Conference:       June 15, 2020
                                                      Trial Date:                 June 30, 2020
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                                                  -1-              Case No. 2:19-cv-04618-RGK (JPRx)
           PLAINTIFF Y.Y.G.M. SA D.B.A. BRANDY MELVILLE’S MOTION IN LIMINE NO. 2 TO EXCLUDE
               EVIDENCE OF UNRELATED LEGAL CLAIMS AND LITIGATION AGAINST PLAINTIFF
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    1 TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
    2        PLEASE TAKE NOTICE that, on June 30, 2020 at 9:00 a.m., or as soon
    3 thereafter as it may be heard, in Courtroom 850 of the above-titled Court, located at
    4 255 East Temple Street, Los Angeles, CA 90012, the Honorable R. Gary Klausner
    5 presiding, Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Plaintiff” or “Brandy
    6 Melville”) will, and hereby does, bring this Motion in Limine No. 2 to exclude
    7 evidence of unrelated legal claims and litigation against Plaintiff.
    8        Plaintiff brings this Motion under Federal Rules of Evidence 401, 402, 403, and
    9 404 and on the grounds that the challenged evidence and argument would be
  10 (1) irrelevant to the issues raised in this action, (2) misleading and confusing to the
  11 jury, (3) unduly time consuming to present and to rebut, (4) unfairly prejudicial to
  12 Plaintiff, and (5) inadmissible character evidence.
  13         This Motion is based on this notice, the accompanying memorandum of points
  14 and authorities, the Declaration of Keith J. Wesley (“Wesley Dec.”) and exhibits
  15 attached thereto, and all of the papers, records, and files herein, and upon such oral
  16 and documentary evidence that may be presented at the hearing on this matter
  17         The Motion is made following the L.R. 7-3 conference of counsel that occurred
  18 on May 8, 2020. (Wesley Dec. ¶ 6.)
  19
  20 DATED: May 15, 2020                      BROWNE GEORGE ROSS LLP
  21                                             Keith J. Wesley
                                                 Ryan Q. Keech
  22                                             Jason Y. Kelly
  23
                                              By:        /s/ Keith J. Wesley
  24                                                     Keith J. Wesley
  25                                          Attorneys for Plaintiff Y.Y.G.M. SA d.b.a.
                                              Brandy Melville
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  28
                                                  -2-              Case No. 2:19-cv-04618-RGK (JPRx)
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    1                     MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.            INTRODUCTION
    3               At trial, Plaintiff will prove that Defendant Redbubble, Inc. (“Redbubble”)
    4 counterfeited and infringed Plaintiff’s trademarks by, inter alia, advertising, offering
    5 to sell, and selling infringing and counterfeit products featuring Plaintiff’s registered
    6 and unregistered trademarks. This is the discrete question that will be presented to
    7 the jury. And yet, Redbubble has indicated that it intends to offer irrelevant and
    8 unfairly prejudicial information. Redbubble’s First Amended Exhibit List, served
    9 May 6, 2020, includes documents from other, prior legal actions that are entirely
  10 unrelated to this case except that they involved Plaintiff. Such exhibits, and evidence
  11 similar to them, are not relevant to any issue in this case, are unfairly prejudicial to
  12 Plaintiff, and should be excluded from presentation to the jury.
  13 II.            BACKGROUND REGARDING THE UNRELATED LEGAL CLAIMS
  14                AND LITIGATION
  15                Redbubble’s First Amended Exhibit List includes three exhibits that relate to
  16 prior legal actions that have no relevance to the case at hand, where Plaintiff was a
  17 party:
  18                 Exhibit 581: A complaint filed by Forever 21 against Plaintiff in 2016 that
  19                   was confidentially settled in 2017. The allegations of the complaint do not
  20                   reference or relate to the trademarks at issue in this case.
  21                 Exhibit 595: A 2013 article published by PR Newswire regarding a lawsuit
  22                   filed by an international photographer against Plaintiff and retail clothing
  23                   store H&M.       The article, rife with hearsay statements, purportedly
  24                   summarizes the allegations of the complaint against Plaintiff and quotes the
  25                   attorney who represented the photographer. The image that formed the basis
  26                   of the photographer’s lawsuit is not at issue in this case.
  27                 Exhibit 596:     A CA Proposition-65 sixty-day notice from an attorney
  28                   alleging Plaintiff sold a product with hazardous substances. The product
        1554129.1
                                                      -3-             Case No. 2:19-cv-04618-RGK (JPRx)
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    1             referenced in the Prop-65 notice is not at issue in this case.
    2 (Wesley Dec. ¶¶ 2-5, Exs. 1-3.) Presenting these exhibits and evidence similar to
    3 them would only serve the purpose of confusing the issues and unfairly tarnishing
    4 Plaintiff’s image before the jury
    5 III.     ARGUMENT
    6          The evidence of unrelated legal claims and litigation that Redbubble intends to
    7 introduce is inadmissible for three independent reasons.
    8          First, this type of evidence is irrelevant. Evidence is relevant if “(a) it has any
    9 tendency to make any fact more or less probable than it would be without the evidence
  10 and; (b) the fact is of consequence to the determination of the action.” Fed. R.
  11 Evid. 401. If evidence is not relevant, it is not admissible. Fed. R. Evid. 402. This
  12 evidence is irrelevant because it has no bearing on the issue in this case: whether
  13 Redbubble infringed and counterfeited Plaintiff’s trademarks. Unrelated claims and
  14 allegations made by third parties against Plaintiff—whether true or false—are
  15 irrelevant to this question.
  16           Second, the evidence is inadmissible under Federal Rule of Evidence 403.
  17 Relevant evidence may be excluded “if its probative value is substantially outweighed
  18 by the danger of unfair prejudice, confusion of the issues, or misleading the jury, or
  19 by considerations of undue delay, waste of time, or needless presentation of
  20 cumulative evidence.” Fed. R. Evid. 403. Rule 403 bars this evidence because it is
  21 likely to mislead the jury. To admit the proposed evidence would confuse and distract
  22 the jury from the relevant issue: Redbubble’s liability and the resulting damages to
  23 Plaintiff. Instead of considering this issue, the jury would spend time listening to,
  24 analyzing, and considering whether Plaintiff acted unlawfully in the past with respect
  25 to nonparties in unrelated matters.
  26           Rule 403 also excludes this evidence because it will result in a waste of judicial
  27 resources.       Plaintiff disputes the allegations contained in each of the exhibits
  28 Redbubble intends to introduce, and to admit them would require a mini-trial as to
     1554129.1
                                            -4-            Case No. 2:19-cv-04618-RGK (JPRx)
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    1 each of those allegations. Plaintiff would need to introduce evidence disproving the
    2 allegations made in those other matters, which will result in a case within a case. The
    3 substantial time delay and inherent unfair prejudice to Plaintiff in allowing these one-
    4 sided legal documents to be introduced far outweigh the minimal (or nonexistent)
    5 probative value found in those documents.
    6               Third, even if the evidence were not irrelevant and unfairly prejudicial (the
    7 documents are both), it is also inadmissible because Redbubble’s only purpose in
    8 introducing these documents would be to argue that Plaintiff has bad character or that
    9 Redbubble cannot be liable because Plaintiff has allegedly acted wrongly in the past.
  10 But Federal Rule of Evidence 404(b) precludes the use of evidence of “other crimes,
  11 wrongs, or acts . . . to prove the character of a person in order to show action in
  12 conformity therewith.” Accordingly, the evidence is inadmissible.
  13 IV.            CONCLUSION
  14                For the foregoing reasons, Plaintiff respectfully requests that this Court grant
  15 its Motion in Limine No. 2 and exclude all evidence of unrelated legal claims and
  16 litigation involving Plaintiff.
  17
  18 DATED: May 15, 2020                          BROWNE GEORGE ROSS LLP
  19                                                 Keith J. Wesley
                                                     Ryan Q. Keech
  20                                                 Jason Y. Kelly
  21
                                                  By:        /s/ Keith J. Wesley
  22                                                         Keith J. Wesley
  23                                              Attorneys for Plaintiff Y.Y.G.M. SA d.b.a.
                                                  Brandy Melville
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